Case: 23-1328   Document: 00118189417   Page: 1     Date Filed: 09/13/2024   Entry ID: 6667258




                  United States Court of Appeals
                               For the First Circuit

      No. 23-1328

                             UNITED STATES OF AMERICA,

                                        Appellee,

                                           v.

                                   COREY DONOVAN,

                               Defendant, Appellant.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

                  [Hon. Paul J. Barbadoro, U.S. District Judge]


                                         Before

                               Barron, Chief Judge,
                     Thompson and Montecalvo, Circuit Judges.



           Michael G. Eaton, with whom Donna J. Brown and Wadleigh, Starr
      & Peters, P.L.L.C. were on brief, for appellant.
           Charles L. Rombeau, Assistant United States Attorney, with
      whom Jane E. Young, United States Attorney, was on brief, for
      appellee.


                                 September 13, 2024
Case: 23-1328   Document: 00118189417   Page: 2   Date Filed: 09/13/2024     Entry ID: 6667258




                  MONTECALVO,    Circuit      Judge.        A    jury       convicted

      Defendant-Appellant Corey Donovan of one count of being a felon in

      possession of a firearm in violation of 18 U.S.C. § 922(g)(1), and

      the court sentenced Donovan to 110 months' imprisonment and three

      years of supervised release.       Donovan appeals both the conviction

      and the sentence.      On the conviction, he argues that the district

      court erred by improperly allowing a witness, his girlfriend Kelley

      Finnigan, to invoke a blanket Fifth Amendment privilege and by

      failing to provide limiting instructions under Federal Rule of

      Evidence 404(b) that he requested before trial.            On the sentence,

      he challenges the district court's application of a mandatory

      sentencing enhancement based on its finding that two oil filters

      were sufficiently modified to be considered homemade silencers.

      For the following reasons, we affirm.

                                    I. Background

                  On March 26, 2021, federal agents from the Bureau of

      Alcohol,    Tobacco,   Firearms   and   Explosives    ("ATF")        executed   a

      search warrant of Donovan's residence, a large rural property in

      Wilmot, New Hampshire.1 At the time of the search, there were

      multiple cars on the property.          Relevant to our discussion, the


            1While the search warrant is not at issue on appeal, it was
      executed after an informant told law enforcement that Donovan was
      in possession of multiple guns. When the search began, Special
      Agent Forte saw ammunition in one of the vehicles on the property
      and applied for and received a subsequent search warrant to search
      the vehicles on the premises.

                                         - 2 -
Case: 23-1328   Document: 00118189417     Page: 3     Date Filed: 09/13/2024    Entry ID: 6667258




      agents searched a Jeep, which was registered to Donovan, and a

      broken-down Hyundai.        The agents also searched several structures

      on the property, including "a large barn/woodshed."

                  From Donovan's Jeep, agents recovered a Mossberg model

      500 20-gauge shotgun strapped to the ceiling rail of the vehicle

      and twenty rounds of 20-gauge ammunition from the center console.

      In the Hyundai, the agents found a box of ammunition and a gun

      cleaning kit.     Finally, inside the barn, the agents found a gun

      case, two gauges of shotgun shells, a gun scope that had "JPM27J"

      written on it, and a 20-gauge shotgun barrel.               Near the gun case,

      the   agents   found   two    oil    filters      that   had    been     modified.

      Noticeably, both oil filters had a hole drilled into them and one

      had a metal plate attached to one end.            The agents suspected these

      modified    oil   filters    in     Donovan's     possession     were     homemade

      silencers.     The agents also recovered various weapons including

      knives, swords, machetes, compound bows, and crossbows throughout

      the property.

                  Five days after the search, Finnigan, who also lives on

      the property, called ATF Special Agent James Martin and claimed

      that the shotgun that was seized belonged to her.                 The ATF later

      learned that the shotgun had been stolen from its owner, Kevin

      Kwiatkowski.




                                           - 3 -
Case: 23-1328   Document: 00118189417   Page: 4    Date Filed: 09/13/2024   Entry ID: 6667258




                               II. Procedural History

                  As Donovan had a prior felony conviction, the government

      charged him with a single count of being a felon in possession of

      a firearm in violation of 18 U.S.C. § 922(g)(1).2            Prior to trial,

      Donovan made a motion requesting that the court grant Finnigan

      immunity for her testimony that the gun, which was stolen from its

      legal owner, belonged to her.       At a hearing on the motion, Donovan

      argued that Finnigan's testimony was exculpatory but would expose

      her to criminal liability and the prosecution's refusal to give

      her immunity amounted to witness intimidation and prevented him

      from mounting a defense.     The district court disagreed, explaining

      that it did not "see any evidence that the government attempted to

      intimidate or harass a potential witness."             And the court found

      that the prosecution's refusal to give Finnigan immunity did not

      constitute a due process violation because it did not prevent

      Donovan from mounting a defense and calling other witnesses who

      could testify about the ownership of the shotgun.

                  With regard to Finnigan's potential criminal liability,

      the   district   court   clarified    that    there    was   "evidence     that

      [Finnigan] ha[d] claimed the firearm as her own."             The court then



            2Under section 922 it is "unlawful for any person--who has
      been convicted in any court of, a crime punishable by imprisonment
      for a term exceeding one year[--]to . . . possess in or affecting
      commerce,   any  firearm   or   ammunition. . . ."     18   U.S.C.
      § 922(g)(1).

                                         - 4 -
Case: 23-1328   Document: 00118189417    Page: 5    Date Filed: 09/13/2024     Entry ID: 6667258




      explained that the government and court identified "two potential

      crimes" that Finnigan's testimony might unveil.                    First, that

      Finnigan was possibly "culpab[le] . . . in connection with the

      . . . theft of the firearm" and, alternatively, that she would be

      criminally    culpable   for   "providing     a   weapon    to   [Donovan,]      a

      convicted felon."     The court noted that the appropriate question

      was whether there was sufficient evidence that Finnigan would not

      face "criminal exposure under [either] of the[se] theories."

                  During   that   hearing,    the   district     court       also   heard

      argument on Donovan's motions in limine.           Donovan's counsel argued

      that several pieces of evidence should be excluded under Federal

      Rule of Evidence 404(b).          First, the defense sought to exclude

      evidence of a prior arrest where the police seized the same gun

      scope that was recovered during the March 26, 2021 search.                      The

      court allowed the prosecution to present this evidence but noted

      that if Donovan wanted a limiting instruction, he "should draft it

      in advance" and the court "would grant [the] limiting instruction."

      The court clarified that it would be willing to give "a limiting

      instruction" but the court "le[ft] it to the defense at the time

      the evidence [was] offered to determine whether to request a

      limiting instruction."         Second, the defense sought to exclude

      evidence regarding Donovan's possession of non-firearm weapons.

      The district court deferred its ruling on this issue but noted

      that, because the defendant was not charged with possession of

                                          - 5 -
Case: 23-1328   Document: 00118189417   Page: 6   Date Filed: 09/13/2024   Entry ID: 6667258




      these other weapons, the court would be willing to "give a limiting

      instruction."

                  Before    trial,      Donovan   filed      proposed      limiting

      instructions for the gun cleaning kit, the bows, and a video of

      him taking a routine drug test as part of his probation.                   The

      government also filed a response with different proposed language

      for the limiting instructions.         Having stipulated to all other

      elements of the offense, the parties proceeded to trial on a single

      issue:    whether Donovan possessed the shotgun.

                  During his testimony on October 13, 2021, Donovan's

      probation officer Timothy Merna testified that Finnigan moved in

      with Donovan in 2020 and Merna met Finnigan in January 2021.              When

      Finnigan was called to the stand, the next day, the district court

      conducted the following colloquy:

                  THE COURT: So, Ms. Finnigan, I just want to
                  ask you a few questions here.

                  Mr. Kennedy has been appointed to represent
                  you.    He's informed me that it is your
                  intention to invoke your Fifth Amendment right
                  to remain silent and not answer any questions
                  about the subject matter that's involved in
                  this case, that is, the charge against your
                  boyfriend of possession of a firearm and
                  ammunition by a convicted felon.

                  The defense has indicated that they would
                  intend to call you and ask you questions about
                  that, particularly focusing on issues like
                  ownership and use of the firearm and the
                  ammunition by you, by your boyfriend, and
                  other information about that particular
                  charge.

                                         - 6 -
Case: 23-1328   Document: 00118189417   Page: 7    Date Filed: 09/13/2024   Entry ID: 6667258




                  And what I understand from talking to your
                  lawyer is that if you were asked questions
                  about that, your intention is to invoke your
                  Fifth Amendment right and not to answer any
                  questions about that subject matter. Is that
                  right?

                  THE WITNESS: Correct.

                  THE COURT: Okay. So -- so that we're clear
                  then, you intend to broadly invoke your Fifth
                  Amendment privilege as to any subject matter
                  involved in this case. Is that right?

                  THE WITNESS: Correct.

                  THE COURT: All right. Does counsel need to do
                  anything further or is that sufficient?

                  THE DEFENDANT: That's fine.

                  MR. STACHOWSKE: Your Honor, the defense is
                  satisfied.

                  On the second day of trial, the court noted that it was

      preparing jury instructions using its "boilerplate instructions"

      and had not "gotten any [instructions] from the parties that are

      anything other than the usual set of instructions."             At that time,

      the government noted a proposed change to the instructions, but

      the defense raised no concerns.        The next day, the court gave the

      parties an opportunity to review the draft jury instructions and

      return    "with   any   proposals    to     modify"   or    "supplement     the

      instructions."     Following an off-the-record conference, the court

      stated on the record that "[t]he government proposed some minor

      changes to the instructions which [the court] agreed to make. [And


                                          - 7 -
Case: 23-1328   Document: 00118189417    Page: 8      Date Filed: 09/13/2024   Entry ID: 6667258




      defense counsel] made inquiries, which [the court] answered, about

      the instructions and [the court] will make those changes and give

      the instructions."        The court then "advised the parties that[,] in

      order to preserve any objection for purposes of appeal, they must

      object at the appropriate time after [it] give[s] the instruction

      before [it] send[s] the jury out to deliberate."                Donovan did not

      object to the jury instructions during or after the reading of the

      instructions.      The jury convicted Donovan.

                  In preparation for sentencing, United States Probation

      and   Pretrial     Services   ("Probation")       prepared     a    Presentencing

      Report ("PSR") that found that the oil filters in the barn were

      homemade silencers because they had been modified from their

      original design and could no longer function as automobile oil

      filters.    In a Report of Technical Examination, the ATF found, and

      Probation later agreed, that the filters were "now designed to

      function    as    []   firearm    silencer[s]        containing     an   expansion

      chamber,    a    ported   inner   tube,   and    a    filtering     element   that

      functions as baffling material."          Additionally, the ATF's analysis

      of the filters uncovered that one contained debris, which it

      explained was "indicative of fired ammunition."                    The ATF tested

      one of the filters on a firearm, which was not the same make and

      model as the gun found in Donovan's Jeep, and found that the filter

      provided a decibel reduction of 4.02 decibels.                       Accordingly,

      Probation calculated a base offense level of twenty-two and a

                                           - 8 -
Case: 23-1328   Document: 00118189417        Page: 9   Date Filed: 09/13/2024    Entry ID: 6667258




      two-level increase for possession of three firearms (the gun and

      two silencers) pursuant to 18 U.S.C. § 921(a)(3) and U.S.S.G.

      § 2K2.1(b)(1)(A) (we will explain these sections in more detail

      later     on).     (Citing        18     U.S.C    § 921(a)(3)      and     U.S.S.G.

      § 2K2.1(b)(1)(A)).     Donovan objected to the two-level increase.

                  At the sentencing hearing, the defense called firearms

      expert Ralph Demicco while the prosecution called two experts from

      the ATF who tested the oil filters:                   Gregory Stimmel, a branch

      chief within the firearms ammunition technology division, and

      Cynthia Wallace, a forensic chemist.             After hearing testimony from

      the three witnesses, the court found that the oil filters were

      sufficiently     modified    to    qualify       as    silencers   and    sentenced

      Donovan to 110 months in prison, with three years of supervised

      release.    Donovan filed this timely appeal.

                                    III. Discussion

                  Donovan lodges three challenges on appeal.                    He argues

      that the district court erred in (1) allowing Finnigan to invoke

      the Fifth Amendment, (2) failing to give his requested limiting

      instructions, and (3) finding that there was sufficient evidence

      to show that the oil filters were homemade silencers for the

      purposes of sentencing.       We consider each of these challenges in

      turn below and conclude that Donovan fails to establish a basis to

      disturb either the conviction or the sentence.



                                              - 9 -
Case: 23-1328   Document: 00118189417            Page: 10    Date Filed: 09/13/2024         Entry ID: 6667258




                                          A. Fifth Amendment

                   Donovan first argues that the district court erred by

       allowing Finnigan to invoke a blanket Fifth Amendment privilege

       after Donovan subpoenaed her to testify that she owned the shotgun

       that Donovan was charged with possessing.                          He argues the court

       failed to "inquire about whether [] Finnigan was invoking her Fifth

       Amendment right based on concerns that she would incriminate

       herself both as to the possession of the firearm and knowledge

       that it was stolen."           The government contends that this argument

       is forfeited, as the defense did not request additional questioning

       when given the opportunity or otherwise object to the district

       court’s colloquy.            The government insists that the colloquy was

       sufficient for Finnigan to invoke her Fifth Amendment privilege

       and would hold up against plain-error review.

                   We        generally      review     "favorable          rulings       on    th[e]

       invocation       of    the    Fifth       Amendment        privilege       for    abuse    of

       discretion."          United States v. Ramos, 763 F.3d 45, 53 (1st Cir.

       2014).     "We will reverse a district court's determination that a

       witness properly invoked the privilege only when it is 'perfectly

       clear . . . that the answers [sought from the witness] cannot

       possibly     incriminate           [the     witness].'"             United       States     v.

       Acevedo-Hernández,           898   F.3d     150,     169    (1st    Cir.     2018)     (first

       alteration in original) (quoting United States v. De La Cruz, 996



                                                  - 10 -
Case: 23-1328    Document: 00118189417    Page: 11      Date Filed: 09/13/2024     Entry ID: 6667258




       F.2d 1307, 1312 (1st Cir. 1993)).           However, our standard of review

       here is impacted by an issue of preservation.

                   The parties dispute whether Donovan properly preserved

       his   challenge    to    Finnigan's      blanket    assertion     of      her   Fifth

       Amendment privilege.         At the conclusion of the district court's

       questioning here, the district court asked if counsel needed

       "anything     further"     to     confirm     whether       the   colloquy        was

       "sufficient."      The defense stated that it was "satisfied" with the

       court's questioning of Finnigan before she invoked her Fifth

       Amendment     right.       The    government       argues    this      constitutes

       forfeiture; but during oral argument, the panel questioned whether

       counsel's statement rose to the level of outright waiver.                         See

       United States v. Mayendía-Blanco, 905 F.3d 26, 32 (1st Cir. 2018)

       (noting     that    waiver      occurs    when     a    party     "intentionally

       relinquishe[d] or abandon[ed]" a right) (quoting United States v.

       Rodriguez, 311 F.3d 435, 437 (1st Cir. 2002)); United States v.

       Chen, 998 F.3d 1, 9 (1st Cir. 2021) (concluding that the defendant

       waived any challenge to verdict form because "[n]ot only did

       [defendant] not object to it, . . . counsel [told the court] 'We're

       fine with it'" when asked if the form was acceptable); United

       States v. Cezaire, 939 F.3d 336, 339 (1st Cir. 2019) (concluding

       that the argument "was at least forfeited" where defense counsel

       did not object and said "okay" to the court's proposed course of

       action).

                                           - 11 -
Case: 23-1328    Document: 00118189417   Page: 12    Date Filed: 09/13/2024    Entry ID: 6667258




                   "[W]e need not decide between waiver and forfeiture

       because '[w]here a defendant's claim would fail even if reviewed

       for plain error, we have often' simply proceeded to the merits."

       United States v. Grullon, 996 F.3d 21, 32 (1st Cir. 2021) (second

       alteration in original) (quoting United States v. Brake, 904 F.3d

       97, 99 (1st Cir. 2018)). We do so now. Plain-error review requires

       Donovan to show that "(1) an error occurred (2) which was clear or

       obvious     . . .    (3) affected     [his]   substantial       rights     [and]

       (4) seriously       impaired   the    fairness,    integrity,      or    public

       reputation of the judicial proceedings."            Universitas Educ., LLC

       v. Granderson, 98 F.4th 357, 373 (1st Cir. 2024) (second alteration

       in original) (quoting Nat'l Fed'n of the Blind v. The Container

       Store, Inc., 904 F.3d 70, 86 (1st Cir. 2018)).3

                   Donovan argues that the district court erred by allowing

       Finnigan to invoke a blanket Fifth Amendment privilege based on

       the colloquy the district court performed.                 Specifically, he

       challenges whether the district court adequately inquired into

       whether Finnigan faced a sufficient possibility that she would

       incriminate herself.       To invoke her Fifth Amendment privilege, a

       witness need only show that there is a "reasonable possibility"


            3 We acknowledge that Donovan waived plain error review in
       failing to argue the four prongs of plain error in his opening
       brief; nonetheless, we address the merits of his argument. See
       Universitas Educ., LLC v. Granderson, 98 F.4th 357, 373 (1st Cir.
       2024); United States v. Colón-De Jesús, 85 F.4th 15, 25 (1st Cir.
       2023).

                                            - 12 -
Case: 23-1328   Document: 00118189417        Page: 13   Date Filed: 09/13/2024     Entry ID: 6667258




       that her testimony will expose her to potential prosecution.

       United States v. Castro, 129 F.3d 226, 229 (1st Cir. 1997).                        The

       potential for prosecution must be "substantial and 'real,' and not

       merely trifling or imaginary."             Marchetti v. United States, 390

       U.S. 39, 53 (1968) (quoting Rogers v. United States, 340 U.S. 367,

       374 (1951)).

                   "Assessing    the    danger      that   a   witness    faces      'is   a

       determination for the court, not the witness, to make, and [it] is

       subject to the discretion of the district court.'"                        Ramos, 763

       F.3d at 55 (quoting United States v. Pratt, 913 F.2d 982, 990 (1st

       Cir. 1990)). In exercising this discretion, the judge must equally

       focus on "personal perception of the peculiarities of the case"

       and "the facts actually in evidence."                Id. (quoting Hoffman v.

       United States, 341 U.S. 479, 487 (1951).             While blanket assertions

       of   privilege    are    "extremely        disfavored,"     United        States    v.

       Cascella, 943 F.3d 1, 5-6 (1st Cir. 2019) (citation omitted), we

       have previously allowed blanket assertions "when the district

       court    itself   confirmed     the    witness's    inability     to      offer    any

       relevant, non-privileged testimony."             Id. at 6.     A district court

       can sufficiently inform itself on the nature and extent of the

       Fifth Amendment claim in "various ways."                Ramos, 763 F.3d at 55.

       "[I]t need only be evident from the implications of the question,

       in the setting in which it is asked, that a responsive answer to

       the question or an explanation of why it cannot be answered might

                                              - 13 -
Case: 23-1328    Document: 00118189417      Page: 14    Date Filed: 09/13/2024    Entry ID: 6667258




       be dangerous because injurious disclosure could result."                          Id.

       (quoting Hoffman, 341 U.S. at 486-87).

                   Here,     Donovan    argues    the    district     court      erred   in

       allowing Finnigan's assertion because there was "no evidence that

       either [Donovan] or Finnigan was involved in or knew of the theft

       [of the firearm.]"          While this is relevant to the question of

       whether Finnigan's testimony would have exposed her to criminal

       liability     under   18    U.S.C.    § 922(j),       which   criminalizes        the

       possession of a stolen firearm, it has no effect on her possible

       liability under 18 U.S.C. § 922(d)(1).

                   Section 922(d)(1) makes it unlawful to knowingly furnish

       a firearm to a person who has been previously convicted of a

       felony.     The record shows that even before the district court

       conducted its colloquy, the court knew that Finnigan lived with

       Donovan and had met Donovan's probation officer prior to the

       execution of the March search warrant.            And while Finnegan claimed

       ownership of the shotgun, the shotgun was found attached to the

       ceiling of Donovan's Jeep.            See United States v. Sylvestre, 78

       F.4th 28, 36 (1st Cir. 2023), cert. denied, 144 S. Ct. 370 (2023)

       (noting     "evidence      was   sufficient      to   establish     constructive

       possession of a gun found in car that defendant had regular access

       to").

                   The record before us does not demonstrate that the

       district court made a "clear or obvious" error in finding that

                                             - 14 -
Case: 23-1328    Document: 00118189417       Page: 15   Date Filed: 09/13/2024     Entry ID: 6667258




       there was a reasonable possibility Finnigan's testimony would have

       exposed her to criminal liability.               Universitas Educ., LLC, 98

       F.4th at 373; see Acevedo-Hernández, 898 F.3d at 169.                     Even if we

       accept Donovan's contention that the record was insufficient to

       support     a    finding    that       Finnigan's     testimony      would      have

       incriminated her with respect to the possession of a stolen firearm

       under 18 U.S.C. § 922(j), the record demonstrates that there was

       a reasonable possibility that Finnigan's testimony would have

       exposed Finnegan to potential prosecution for knowingly selling

       "or otherwise dispos[ing] of" a firearm to a prohibited person

       under 18 U.S.C. § 922(d)(1).             When the district court made its

       decision, the record showed that: Finnigan was the purported owner

       of the shotgun; Finnegan lived with Donovan and was his girlfriend;

       Donovan had been previously convicted of a felony; Finnigan likely

       knew of his conviction, given that she met his probation officer

       while Donovan was serving a sentence of supervised release; and

       Finnigan's      shotgun    was   in    Donovan's     constructive         possession

       because it was in his car.

                   On this record, there is a reasonable possibility that

       Finnigan's "responsive answer[s]" to questions about her ownership

       and possession of the shotgun and her relationship with Donovan

       would have resulted in an "injurious disclosure" and "'real' . . .

       hazard[] of incrimination," which is all the district court had to

       ascertain before sustaining the privilege.               Ramos, 763 F.3d at 55

                                              - 15 -
Case: 23-1328    Document: 00118189417    Page: 16       Date Filed: 09/13/2024     Entry ID: 6667258




       (first quoting Hoffman, 341 U.S. at 486-87; and then quoting

       Marchetti, 390 U.S. at 53).         Donovan's arguments on appeal do not

       establish that the record and colloquy by the district court were

       insufficient to inform the court of Finnigan's potential criminal

       liability.       Thus, we observe no clear or obvious error in the

       district court's proceedings and decision to permit Finnegan to

       invoke her Fifth Amendment privilege.

                                  B. Limiting Instructions

                   Donovan next argues that the district court erred in

       permitting the admission, without limiting instructions, of what

       he claims is prejudicial evidence of his past conduct and the other

       weapons he had in his possession at the time of the search.                          In

       pressing this claim, Donovan assigns error to the district court's

       failure    to    give   limiting   instructions        both    at    the    time    the

       assertedly      prejudicial    evidence     was     admitted        and    while    the

       district    court    was   instructing      the    jury    after     the    close    of

       evidence.       Although defense counsel sought limiting instructions

       during the pretrial motion hearing and filed proposed limiting

       instructions before trial, defense counsel did not object to the

       court's lack of "contemporaneous limiting instructions" when the

       evidence was admitted.        Donovan concedes that his counsel "did not

       re-raise     [his]      requests   during     trial       or   lodge       additional

       objections to the jury instructions after they were given."                         The

       government argues that Donovan's challenge to the lack of limiting

                                           - 16 -
Case: 23-1328   Document: 00118189417   Page: 17   Date Filed: 09/13/2024   Entry ID: 6667258




       instructions is waived because of defense counsel's failure to

       contemporaneously object or submit proposed instructions during

       trial.     Donovan nonetheless argues that his pretrial actions

       preserved his arguments on this issue.

                  As to Donovan's arguments on the lack of contemporaneous

       limiting instructions and the inadequacy of the jury instructions,

       our review here is for plain error because he failed to lodge an

       objection when the evidence was admitted.           See United States v.

       Williams, 717 F.3d 35, 42 (1st Cir. 2013) (explaining that "[w]hen

       a defendant does not interpose a contemporaneous objection to a

       limiting instruction," or the lack of an instruction, we review

       the unpreserved objection for plain error); United States v.

       Karani, 984 F.3d 163, 174 (1st Cir. 2021) (noting that we review

       unpreserved challenges to "[jury] instructions for plain error").

       However, our review of the record shows more than a mere lack of

       preservation.     Rather, Donovan outright waived any ability to

       challenge the lack of limiting instructions.

                  True, Donovan made objections to certain evidence and

       filed proposed limiting instructions prior to trial.             But Donovan

       did not re-assert his objections or request or provide limiting

       instructions at any point        during the trial,        even though     the

       district court had explained before trial that it would "leave it

       to the defense at the time the evidence is offered to determine

       whether to request a limiting instruction" because such a request

                                         - 17 -
Case: 23-1328   Document: 00118189417   Page: 18     Date Filed: 09/13/2024   Entry ID: 6667258




       would be "a tactical choice that counsel needs to make."                  Thus,

       despite initially raising the issue, Donovan "relinquish[ed] or

       abandon[ed]" his request for limiting instructions when he failed

       to raise timely, contemporaneous objections at the time that the

       assertedly problematic evidence was introduced.              United States v.

       Padilla-Galarza,    990   F.3d    60,   74    (1st    Cir.   2021)     (quoting

       Rodriguez, 311 F.3d at 437).       This means that Donovan's objection

       to the lack of limiting instructions is waived and cannot be

       resurrected now on appeal.        United States v. Pelletier, 666 F.3d

       1, 6 (1st Cir. 2011) (concluding that a challenge to a limiting

       instruction was waived because "trial counsel was apprised of the

       proposed language[ and] declined an opportunity to provide the

       court with any changes, and again declined comment after the

       instruction was read to the jury").          We therefore do not reach the

       merits of this waived issue.

                              C. Sentencing Enhancement

                  Lastly, Donovan argues that the district court erred by

       finding that the two oil filters were sufficiently modified to be

       considered homemade silencers, triggering a compulsory sentencing

       enhancement.    We disagree.     We review a sentencing judge's factual

       findings for clear error and legal determinations de novo.               United

       States v. Ramos-Paulino, 488 F.3d 459, 463 (1st Cir. 2007).                   "A

       question [of] whether the evidence is sufficient to support a

       particular guideline determination is a question of law and,

                                          - 18 -
Case: 23-1328   Document: 00118189417    Page: 19   Date Filed: 09/13/2024   Entry ID: 6667258




       therefore, engenders de novo review."        Id.; see also United States

       v. Raiche, 50 F.4th 279, 283 (1st Cir. 2022), cert. denied, 143 S.

       Ct. 835 (2023).        The government must prove that a sentencing

       enhancement applies to a defendant by a preponderance of the

       evidence.     United States v. Flete-Garcia, 925 F.3d 17, 26 (1st

       Cir. 2019).

                   Section 2K2.1(b)(1)(A) of the United States Sentencing

       Guidelines requires that a defendant receive a two-level increase

       to their base offense level if there were three to seven firearms

       involved in the offense.      "When determining the number of firearms

       involved    in    an   offense,   we   consider    all    relevant    conduct

       attributable to the defendant."         United States v. Ilarraza, 963

       F.3d 1, 10 (1st Cir. 2020).

                   The term "firearm" includes "any firearm muffler or

       firearm silencer."      18 U.S.C. § 921(a)(3)(C).        A "firearm muffler"

       or "firearm silencer," in turn, is defined as "any device for

       silencing, muffling, or diminishing the report of a portable

       firearm."    Id. § 921(a)(25).     But the statute then also defines a

       "firearm muffler" or "firearm silencer" to include not only any

       "device" that can be used as-is for "silencing, muffling, or

       diminishing the report of a portable firearm" that is intended to

       be so used.      Id.   The statute also defines a "firearm muffler" or

       "firearm silencer" to include "any combination of parts, designed

       or redesigned, and intended for use in assembling or fabricating

                                          - 19 -
Case: 23-1328   Document: 00118189417   Page: 20   Date Filed: 09/13/2024   Entry ID: 6667258




       a firearm silencer or firearm muffler" as well as "any part

       intended only for use in such assembly or fabrication."                   Id.

       (emphasis added).

                  Donovan argues that there is insufficient evidence in

       the record to support the court's finding by a preponderance of

       the evidence, see Flete-Garcia, 925 F.3d at 26, that the oil

       filters met the statutory definition of "firearm silencer" for the

       purpose of applying the 2K2.1(b)(1)(A) sentencing enhancement.

       Reviewing de novo, see Ramos-Paulino, 488 F.3d at 463, we disagree.

                  The two oil filters at issue were found on Donovan's

       property among ammunition, the second shotgun barrel, and other

       gun accessories.      The oil filters were similar but had a few

       physical differences.      The first ("Oil Filter One") was a Fram

       PH8A model oil filter that was 6-1/4 inches long and 3-1/2 inches

       in diameter. Oil Filter One "ha[d] been modified from its original

       manufactured design by the creation of a centrally located hole

       which perforate[d] the entire . . . device."           Oil Filter One was

       further modified by the attachment of a piece of metal to the rear

       of the filter, which the ATF expert concluded was "an improvised

       adapter" that "facilitate[d] attaching [Oil Filter One] to a

       portable firearm."     The second oil filter ("Oil Filter Two") was

       a Fram PH7317 model oil filter that was 3-3/8 inches long and 2-3/4

       inches in diameter.     Like Oil Filter One, Oil Filter Two had been

       modified "by the creation of a centrally located hole which

                                         - 20 -
Case: 23-1328   Document: 00118189417      Page: 21        Date Filed: 09/13/2024     Entry ID: 6667258




       perforate[d] the entire . . . device."               However, unlike Oil Filter

       One, Oil Filter Two did not have any "improvised adapter" attached

       to it.

                  At Donovan's sentencing hearing, an ATF firearms expert

       testified to having personally inspected hundreds of homemade

       firearm silencers and noted that individuals commonly modify oil

       filters for use as firearm silencers.                 See also United States v.

       Hay, 46 F.4th 746, 748 (8th Cir. 2022) (recounting that the ATF

       had seen an increase in the sale of "'Inline Fuel Filters' that

       are   easily   modified   to   be    used      as    silencers").        The    expert

       testified that the holes that had been drilled through the middle

       of Oil Filters One and Two would serve "no real purpose" were

       either filter to be used as an oil filter, thus providing "a major

       indicator" that they were intended, as modified, for use in

       creating a firearm silencer.

                  The same expert testified to having prepared a report

       summarizing analysis that he and other ATF agents had done on Oil

       Filters One and Two.      To test Oil Filter One's potential for use

       in silencing or muffling a firearm, the expert had used a threaded

       adapter to attach it to the muzzle of a pistol.                   While the expert

       had used an adapter that was "made in-house" by the ATF, he

       testified that similar adapters are available for purchase at

       commercial retailers.      A comparison of shots fired by the pistol

       with and without Oil Filter One attached revealed that Oil Filter

                                            - 21 -
Case: 23-1328    Document: 00118189417        Page: 22     Date Filed: 09/13/2024    Entry ID: 6667258




       One,     as   modified       and    attached   with     the   adapter,       caused   a

       4.02-decibel reduction in the sound of the pistol shots -- a

       significant reduction on the logarithmic scale on which firearm

       decibels are measured.              Thus, the ATF report concluded that Oil

       Filter One was "capable of diminishing the sound report of a

       portable firearm" and therefore was "a firearm silencer or firearm

       muffler as defined" by 18 U.S.C. § 921(a)(25).

                     ATF agents did not test Oil Filter Two's potential for

       use in silencing or muffling a firearm in the same way they had

       tested Oil Filter One because "[t]he interior and exterior holes

       [were] not lined up and testing [it] with live ammunition would

       likely result in damage," and the agents wanted to preserve the

       evidence.         Nonetheless, based on the modifications that had been

       made to Oil Filter Two -- which included the drilled hole and the

       addition of "baffling material" inside the filter -- ATF agents

       concluded that it was "no longer designed to function as an

       automotive oil filter" and was "now designed to function as a

       firearm silencer" as defined in § 921(a)(25).

                     A     second    ATF    expert       who   testified     at     Donovan's

       sentencing hearing explained that she had inspected Oil Filters

       One and Two and found that the interior of Oil Filter One contained

       residue of "suspected burned smokeless powder," lead particles,

       antimony, and brass particles, which, taken together, the expert



                                               - 22 -
Case: 23-1328    Document: 00118189417    Page: 23    Date Filed: 09/13/2024    Entry ID: 6667258




       found indicative of ammunition having been fired into Oil Filter

       One.

                   At oral argument, the parties discussed whether the oil

       filters were identical.           We recognize the importance of this

       discussion because if even one of the oil filters at issue does

       not qualify as a silencer, the sentencing enhancement cannot apply.

       See U.S.S.G. § 2K2.1(b)(1)(A).          We note that Oil Filters One and

       Two are different models. And we acknowledge that while Oil Filter

       One had a metal plate attached to it -- making it a "combination

       of parts, designed or redesigned," which need only be "intended

       for use in assembling or fabricating a firearm silencer or firearm

       muffler" to meet the definition of a firearm silencer -- Oil Filter

       Two did not, meaning that it, standing alone, must be a "part

       intended only for use in such assembly or fabrication" to qualify

       as a firearm silencer.        18 U.S.C. § 921(a)(25) (emphasis added).

                   In contending that the evidence was insufficient to

       support a finding that either oil filter was a "firearm silencer"

       as defined by § 921(a)(25), Donovan presented the testimony of his

       own firearms expert.      The expert testified that the oil filters,

       as modified, could "not easily" be used as silencers.                    He also

       testified that someone had drilled holes into the barrel of the

       shotgun     that    Donovan       had   been    convicted       of      illegally

       possessing -- a modification which, in his opinion, was likely

       made to reduce recoil and would have resulted in the shotgun making

                                           - 23 -
Case: 23-1328   Document: 00118189417   Page: 24   Date Filed: 09/13/2024    Entry ID: 6667258




       a "very, very loud and obnoxious" noise when it was fired.                 The

       defense argued that the presence of the holes in the shotgun

       barrel, coupled with the fact that Donovan lives on a remote

       property, indicated that he would not have been concerned with

       reducing the sound of the shotgun.

                    But this evidence does not undermine the ATF agent's

       testimony that there was "no real purpose" to adding holes to the

       oil filters except to use them in fabricating firearm silencers.

       And   that   testimony,   when   combined    with    the    other    evidence

       indicating that the oil filters were intended to facilitate the

       assembly or fabrication of a firearm silencer, suffices to support

       the district court's determination that a preponderance of the

       evidence showed each oil filter to be a "firearm silencer" within

       the   meaning   of   § 921(a)(25).     We   therefore      reject    Donovan's

       contention that the district court erred in applying the sentencing

       enhancement for Donovan's possession of three to seven firearms

       under § 2K2.1(b)(1)(A).

                                    IV. Conclusion

             For all these reasons, we affirm.




                                         - 24 -
